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                     12 THOMAS A. SEAMAN
                     13                     UNITED STATES DISTRICT COURT
                     14                    CENTRAL DISTRICT OF CALIFORNIA
                     15                           WESTERN DIVISION
                     16 SECURITIES AND EXCHANGE                 Case No. 2:15-CV-07425-RGK-PLA
                        COMMISSION,
                     17                                         RECEIVER'S TWELFTH
                                   Plaintiff,                   INTERIM REPORT AND
                     18      v.                                 RECOMMENDATIONS
                     19 STEVE CHEN, USFIA, INC.,
                        ALLIANCE FINANCIAL
                     20 GROUP, INC., AMAUCTION, INC.,
                        ABORELL MGMT I, LLC, ABORELL
                     21 ADVISORS I, LLC, ABORELL
                        REIT II, LLC, AHOME REAL
                     22 ESTATE, LLC, ALLIANCE
                        NGN, INC., APOLLO REIT I, INC.,
                     23 APOLLO REIT II, LLC, AMKEY, INC.,
                        US CHINA CONSULTATION
                     24 ASSOCIATION, and QUAIL RANCH
                        GOLF COURSE, LLC,
                     25            Defendants.
                     26
                     27
                     28
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                      1               Thomas A. Seaman ("Receiver"), Court-appointed receiver for Defendants
                      2 USFIA, Inc., Alliance Financial Group, Inc., Amauction, Inc., Aborell Mgmt I, LLC,
                      3 Aborell Advisors I, LLC, Aborell REIT II, LLC, Ahome Real Estate, LLC, Alliance
                      4 NGN, Inc., Apollo REIT I, Inc., Apollo REIT II, LLC, Amkey, Inc., US China
                      5 Consultation Association, Quail Ranch Golf Course, LLC, and their subsidiaries and
                      6 affiliates (collectively, "Receivership Entities"), hereby provides his Twelfth Interim
                      7 Report and Recommendations. This report focuses on the Receiver's activities
                      8 during the second quarter of 2018 and provides a financial report on the receipts and
                      9 disbursements for the receivership estate through June 30, 2018.
                     10                                     I.    STATUS REPORT
                     11               This receivership involves a complex and wide ranging group of enterprises
                     12 and assets funded with the fruits of the fundraising scheme at the heart of the action
                     13 filed by the Securities and Exchange Commission ("Commission"). As previously
                     14 reported, the Receiver took control of bank accounts identified in the TRO and
                     15 Preliminary Injunction Order ("Appointment Orders") as well as additional accounts
                     16 identified through the Receiver's investigation of documents and information found
                     17 at the various locations where the Receivership Entities conducted business. The
                     18 Receiver has taken possession of numerous real estate assets, including a hotel, an
                     19 apartment complex, multiple parcels of vacant land, and various single-family
                     20 residences. During this past quarter, the Receiver made significant progress towards
                     21 monetizing the real property assets. The Receiver also took control and has sold
                     22 certain personal property, including vehicles, guns and ammunition, ornamental
                     23 jewelry, including amber and other materials of pecuniary value, and the personal
                     24 property located at the company premises.
                     25               The Receiver has developed procedures for the efficient administration of
                     26 claims, which the Court approved. Claims were received, although the response rate
                     27 was substantially lower than expected based on the number of unique investor email
                     28 addresses and the estimated number of investors based on bank and other records of
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                      1 the Receivership Entities. The deadline to submit claims, or claims bar date, was set
                      2 for June 29, 2018. The Receiver requested the date be extended for approximately
                      3 90 days to allow more investors to submit claims. [Dkt. No. 314.] The motion was
                      4 granted on August 23, 2018.
                      5               Gross receipts for the second quarter were $1,584,858. Gross receipts from
                      6 inception of the receivership case through June 30, 2018 were $59,060,618.
                      7 Disbursements for the quarter were $146,089. From the inception of the receivership
                      8 case through June 30, 2018, disbursements were $9,136,863. Disbursements during
                      9 the past quarter were primarily for operating expenses and property taxes on the
                     10 remaining real estate assets. The Receiver was holding cash in the amount of
                     11 $49,923,755 as of June 30, 2018. An accounting and analysis of receipts and
                     12 disbursements follows below and in Exhibit A.
                     13                                      II.   ASSET DISPOSITION
                     14               With final judgments against Steve Chen ("Chen") and the Receivership
                     15 Entities having been entered, the Receiver has been marketing and selling real and
                     16 personal property assets of the Receivership Entities. Marketing and sales efforts of
                     17 the remaining assets are as follows:1
                     18                The residential property located at 409 Deodar Lane in Bradbury
                     19                    had been listed for sale for several months and demand was weak.
                     20                    Based on the appraised value and in consultation with the broker,
                     21                    the Receiver originally listed the property for $4.188 million. In
                     22                    the meantime, several comparable sales and listings indicating a
                     23                    lower value have been observed. The price was lowered twice and
                     24                    set at $3.688 million for several months. In an effort to regenerate
                     25                    interest, the Receiver removed the listing for a short period of time
                     26
                            1
                                 The previously filed Receiver Reports [One through Eleven] contain descriptions
                     27          of asset sales for the prior periods. This Report only reflects asset disposition
                                 transactions which closed or were the subject of significant work during this past
                     28          quarter.
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                      1                    and then re-listed it. An offer for $2.8 million was recently
                      2                    received and the Receiver countered with a sales price of
                      3                    $2.95 million which has been accepted. The sale was subject to
                      4                    overbidding which brought the price to $3.135 million. The sale
                      5                    closed August 3, 2018.
                      6                The Receiver has listed for sale the office building located on Live
                      7                    Oak Boulevard in Arcadia, California, which served as the
                      8                    headquarters for the Receivership Entities. After the quarter
                      9                    ended, the Receiver received an offer to purchase the property.
                     10                The Receiver filed a fraudulent conveyance action against Wei He
                     11                    to recover two residential real properties in her possession that
                     12                    were purchased with funds of the Receivership Entities.
                     13                The Receiver has asserted control over three residential properties
                     14                    owned by Steamfont, LLC, an entity that is affiliated with the
                     15                    named defendants. These three properties are located at 42 Alta
                     16                    Street, 405 Lynd Avenue, and 2315 Club Vista in Arcadia,
                     17                    California. All three properties are currently occupied. The
                     18                    Receiver is in discussions with the occupants as to the basis for
                     19                    their claims to the properties.
                     20                The Receiver has listed for sale the parcel of land commonly
                     21                    known as 8280 Utica Avenue, Suite 200, Rancho Cucamonga,
                     22                    California. The Receiver has received some expressions of interest
                     23                    in the Utica property, however, no formal offer was received
                     24                    during this quarter.
                     25                Certain of the personal property assets located at the Arcadia office
                     26                    building were sold at auction in May 2018 and the proceeds will be
                     27                    reflected in the Receiver's next interim report. The net proceeds
                     28                    were $287,828.
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                      1                The Receiver took possession of cash in the amount of $1,297,030
                      2                    from Steamfont, LLC accounts at financial institutions.
                      3          III.      ANALYSIS OF INVESTOR CLAIMS AND ACCOUNTING DATA
                      4               Due to the volume of electronic data and disorganized manner in which it was
                      5 kept by the Receivership Entities, the Receiver is working to confirm the entire scope
                      6 of the USFIA enterprise, the number of investors, the specific amounts invested by
                      7 investors and the amounts previously distributed to investors and others. The
                      8 Receiver's work to analyze and understand the investor data, with the assistance of
                      9 his forensic computer specialist, is ongoing. To date, the Receiver has identified
                     10 approximately 65,000 unique investor email addresses and has sent an official
                     11 communication regarding the receivership to all of these email addresses, directing
                     12 investors to the receivership website (www.usfiareceiver.com), requesting they
                     13 provide their current contact information, and giving them the option to sign up for
                     14 automatic email updates when the website is updated.
                     15               The Receiver has reviewed and analyzed certain QuickBooks files and hard
                     16 copy business documents, has obtained most of the relevant bank records, and is
                     17 close to completing an accounting of receipts and disbursements for the Receivership
                     18 Entities. The objectives of the accounting are to trace assets, determine investor
                     19 claims, assess damages, and prepare an accounting report in accordance with the
                     20 Appointment Orders. The accounting is voluminous and complex. As the process
                     21 has progressed, several additional accounts have been identified and additional
                     22 subpoenas have been required. Production is ongoing and being incorporated, but
                     23 has extended the time required to complete the accounting. The additional work has
                     24 identified additional recipients of ill-gotten gains and assets. The number of bank
                     25 accounts used by the Receivership Entities that the Receiver is accounting for has
                     26 grown to 93 bank accounts. The accounting work is largely completed and the
                     27 Receiver is now analyzing it, drawing conclusions, and preparing a report of his
                     28 findings.
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                      1               To date, the forensic accounting indicates receipts of nearly $214 million to
                      2 the Receivership Entities and disbursements of approximately $193.4 million, which
                      3 comes very close to reconciling with the approximately $20.6 million held in the
                      4 Receivership Entities bank accounts at the time the Receiver was appointed. The
                      5 amount spent on assets, primarily real estate, appears to be in the range of
                      6 $77.4 million.
                      7               While the written report is not yet complete, the Receiver has been able to use
                      8 information gleaned to calculate investor losses and amounts obtained by Mr. Chen,
                      9 as well as to identify and marshal assets, identify fraudulent transfers, ascertain
                     10 damages, prove ownership of assets, and to determine the cost basis of assets for tax
                     11 and other purposes.
                     12               The Receiver formulated procedures for the efficient and effective
                     13 administration of investor claims against the receivership estate and obtained Court
                     14 approval of a claims process, including a proposed claim form, engagement of a third
                     15 party claims administrator and claims analyst, and proposed budgets for the initial
                     16 phase of the process. In accordance with the order approving the claims process, the
                     17 Receiver initially established a claims bar date of June 29, 2018. As noted above,
                     18 due to the smaller than expected amount of claims and difficulties locating
                     19 investor/victims, many of who are foreign nationals, the Receiver has requested that
                     20 the Court extend the claims bar date by approximately 90 days to October 1, 2018.
                     21                    IV.   CLAIMS TO RECOVER FROM THIRD PARTIES
                     22               The Receiver previously requested and was granted authority to pursue
                     23 fraudulent transfer claims to recover real properties and other fraudulent transfers to
                     24 Defendant Steve Chen's ex-wife, Wei He (aka Grace He) and her personal trust. Dkt.
                     25 Nos. 283, 286. The Receiver filed his complaint on January 19, 2018, and the case
                     26 remains pending before this Court.
                     27               The Receiver recently requested and was granted authority to pursue
                     28 fraudulent transfer claims against Li Zhao (aka Jennifer Zhao), the mother of one of
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                      1 Steve Chen's sons. Dkt. Nos. 313, 325. The Receiver will file his complaint, along
                      2 with a notice of related case, shortly.
                      3                             V.    INVESTOR COMMUNICATIONS
                      4               As noted above, the Receiver has established a website to provide case
                      5 information, regular updates, and answers to frequently asked questions to investors
                      6 and creditors. The Internet address for the webpage is www.usfiareceiver.com. Due
                      7 to the large number of Chinese-American investors, the website also provides a tab
                      8 to view the website in Mandarin. In addition, as noted above, the Receiver continues
                      9 efforts to generate a comprehensive list of investors and their contact information.
                     10 The Receiver has sent an official communication regarding the receivership to the
                     11 approximately 65,000 investor email addresses identified thus far.
                     12                             VI.    RECEIVERSHIP ACCOUNTING
                     13               Gross receipts for the second quarter were $1,584,858, and from inception
                     14 through June 30, 2018, gross receipts were $59,060,618. Disbursements for the
                     15 quarter were $146,089, and inception through June 30, 2018 disbursements were
                     16 $9,136,863. Disbursements during the quarter of $146,089 were primarily for
                     17 operating expenses and property taxes on the remaining real estate assets. The
                     18 Receiver was holding cash in the amount of $49,923,755 as of June 30, 2018.
                     19               Attached as Exhibit A are Profit and Loss Statements, Balance Sheet, and
                     20 Detailed General Ledger, which provide an accounting of the receipts and
                     21 disbursements to and from the receivership estate through June 30, 2018. A
                     22 Standardized Fund Accounting Report ("SFAR") is included with Exhibit A.
                     23               The total receipts from May 1, 2018, through July 31, 2018, of $1,584,858
                     24 were comprised of Steamfont, LLC funds turned over to the Receiver by financial
                     25 institutions and the auction proceeds of $287,828 from the sale of personal property.
                     26               Total receipts from inception of the receivership through June 30, 2018, are
                     27 $59,060,618, which includes $27,605,934 turned over by banks, $702,558 from
                     28 unused law firm retainers, $2,759,466 in receipts from the hotel and apartment
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                      1 building, $974,510 in what appear to be investor funds received after the Receiver's
                      2 appointment, $26,139,434 from real property sales, $551,209 from personal property
                      3 sales, $1,637 in tax refunds and interest income of $325,871 earned on excess cash
                      4 invested in treasury securities and bank certificates of deposit in increments less than
                      5 the limit of FDIC insurance to safely maximize interest income. The Receiver
                      6 quickly invests cash proceeds into interest bearing instruments to maximize interest
                      7 income, notwithstanding the low interest rate environment.
                      8               As set forth on the Profit and Loss Statement, Balance Sheet, and General
                      9 Ledger, the Receiver disbursed $146,089 during the quarter ending June 30, 2018,
                     10 comprised of $63,220 for property taxes, $51,002 for other real estate operating
                     11 expenses, moving expense to vacate the Arcadia offices and move the books and
                     12 records and computers to Irvine of $26,514, and $5,353 for miscellaneous expenses
                     13 of administering the receivership estate. The Receiver has disbursed $9,136,863
                     14 from inception of the receivership through June 30, 2018. Noteworthy larger
                     15 expense categories include hotel operating expenses of $1,893,782, real property
                     16 taxes and expenses of $2,239,017, and professional fees of $2,448,999. As noted
                     17 above, the Receiver was holding cash in the amount of $49,923,755 as of June 30,
                     18 2018.
                     19                                   VII. RECOMMENDATIONS
                     20               The Receiver's efforts to marshal, preserve, and protect assets as well as to
                     21 account for the sources and uses of funds by the Receivership Entities are ongoing.
                     22 The Receiver and his professionals make the following recommendations for the
                     23 ongoing administration of the receivership estate:
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                      1                Complete the forensic accounting report;
                      2                Continue to collect investor/victim claims information through the
                      3                    extended bar date of October 1, 2018;
                      4                Establish claims review/approval criteria and reconcile, analyze,
                      5                    and prepare motion to allow and disallow claims in order to
                      6                    establish the pool of claims for distribution purposes;
                      7                Recover and sell the remaining real estate assets purchased with
                      8                    Receivership Entity funds;
                      9                Pursue recovery of fraudulent transfers of real property and other
                     10                    assets; and
                     11                Develop a plan to distribute the recovered proceeds to investors
                     12                    and other allowed claimants.
                     13                                          VIII. CONCLUSION
                     14               Based upon his investigation and findings, the Receiver recommends and
                     15 requests the Court order him to continue to perform his duties pursuant to the
                     16 Appointment Orders. The Receiver also requests the Court approve this Twelfth
                     17 Report and the foregoing recommendations.
                     18
                     19 Dated: August 27, 2018                              By:
                                                                                  THOMAS A. SEAMAN
                     20                                                           Receiver
                     21
                     22 Dated: August 27, 2018                              ALLEN MATKINS LECK GAMBLE
                                                                             MALLORY & NATSIS LLP
                     23
                                                                            By:        /s/ Edward Fates
                     24                                                           EDWARD G. FATES
                                                                                  Attorneys for Receiver
                     25                                                           THOMAS SEAMAN
                     26
                     27
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                   EXHIBIT A
                                                                    Exhibit A, Page 9
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1:36 PM                           USFIA, Inc in Receivership
08/16/18                                   Balance Sheet
Accrual Basis                              As of June 30, 2018

                                                                      Jun 30, 18
                         ASSETS
                           Current Assets
                             Checking/Savings
                                USFIA Operating Acct - WF 0008          421,222.27
                                USFIA Union Bank Acct 1036           49,502,533.00
                              Total Checking/Savings                 49,923,755.27

                           Total Current Assets                      49,923,755.27
                           Other Assets
                             Security Deposits                            1,310.00
                             Utility Deposits                             1,105.00
                           Total Other Assets                             2,415.00

                         TOTAL ASSETS                                49,926,170.27
                         LIABILITIES & EQUITY
                            Liabilities
                               Current Liabilities
                                  Other Current Liabilities
                                      Potential 11th Hour Investor     974,510.40
                                 Total Other Current Liabilities       974,510.40

                              Total Current Liabilities                974,510.40

                           Total Liabilities                           974,510.40
                           Equity
                             Retained Earnings                       45,509,932.53
                             Net Income                               3,441,727.34
                           Total Equity                              48,951,659.87

                         TOTAL LIABILITIES & EQUITY                  49,926,170.27




                                                                                     Exhibit A, Page 10
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1:34 PM                           USFIA, Inc in Receivership
08/16/18                                          Profit & Loss
Accrual Basis                                 April through June 2018

                                                                        Apr - Jun 18
                    Ordinary Income/Expense
                      Income
                         Sale of Personal Property                                    287,828.25
                         Turnover/ Seizure                                          1,297,029.97
                       Total Income                                                 1,584,858.22
                       Expense
                         Bank Service Charges                                                 93.96
                         Mileage Reimbursement                                               330.58
                         Outside Services
                            Computer & Internet Expenses                       1,159.55
                            Misc Costs & Services                              2,325.67
                            Postage and Delivery                                 422.79
                            Printing & Reproduction                               29.74
                         Total Outside Services                                          3,937.75
                         Professional Fees
                           Appraiser Fees                                           577.50
                           Transalation Services                                    413.78
                         Total Professional Fees                                             991.28
                         Real Property Expenses
                           All Other Real Estate
                              General Liability Insurance               15,079.84
                              HOA Dues                                     380.00
                              Landscape & Maintenance                    3,585.00
                              Locksmith                                    158.50
                              Property Tax                              63,219.89
                              Real Estate Sales Expenses                   470.00
                              Repairs & Maintenance                      7,074.00
                              Security                                  17,520.00
                              Utilities                                  6,734.77
                               Total All Other Real Estate                   114,222.00

                         Total Real Property Expenses                                  114,222.00
                         Rent & Storage Expenses                                        26,513.59
                       Total Expense                                                   146,089.16

                    Net Ordinary Income                                             1,438,769.06

                  Net Income                                                        1,438,769.06




                                                                                                      Exhibit A, Page 11
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                                            #:9047
1:35 PM                           USFIA, Inc in Receivership
08/16/18                          Inception-to-Date Profit & Loss
Accrual Basis                                  As of June 30, 2018

                                                                       Jun 30, 18
                 Ordinary Income/Expense
                   Income
                      Hotel Revenue                                                  1,858,142.41
                      Rental Income                                                    901,323.42
                      Sale of Personal Property                                        551,209.41
                      Sale of Real Property                                         23,908,309.75
                      Tax Refunds                                                        1,636.51
                      Turnover/ Seizure                                             27,605,934.00
                      Unearned law firm retainers                                      702,557.77
                   Total Income                                                     55,529,113.27
                   Expense
                     Automobile Expenses                                               11,073.24
                     Bank Service Charges                                               4,151.37
                     Hotel Operating Expenses
                        Cable                                                24,362.07
                        Computer & Internet Expenses                         29,424.02
                        Food & Beverage                                      26,799.48
                        Insurance Expense
                           Earthquake Insurance                       26,563.00
                           General Liability Insurance                39,543.93
                           Worker's Compensation                     136,566.89
                         Total Insurance Expense                            202,673.82
                         Landscape & Maintenance                              7,066.07
                         Licenses, Permits, & Dues                            7,561.62
                         Lodging Tax-San Bernardino                         179,511.84
                         Merchant Account Fees                               55,004.23
                         Misc Hotel Expenses                                105,357.13
                         Office Supplies                                      4,308.13
                         Payroll Expenses                                   712,396.87
                         Payroll Fees                                        14,762.10
                         Property Taxes                                     140,057.59
                         Recurring Hotel Fees                                     0.00
                         Repairs & Maintenance                               55,175.65
                         Reservations                                       144,038.58
                         Telephone Expense                                   18,811.23
                         Utilities                                          166,471.73
                      Total Hotel Operating Expenses                                 1,893,782.16
                      Mileage Reimbursement                                              9,896.43
                      Outside Services
                         Computer & Internet Expenses                        13,388.40
                         Misc Costs & Services                                3,255.36
                         Postage and Delivery                                 2,448.48
                         Printing & Reproduction                              2,422.25
                      Total Outside Services                                           21,514.49
                      Professional Fees
                        Appraiser Fees                                       28,227.50
                        Legal Fees                                           23,481.42
                        Outside Accounting Fees                               1,429.50
                        Receiver's Counsel Expenses
                           Allen Matkins                              23,413.11
                           Squire Patton Boggs, LLP                    7,643.08
                         Total Receiver's Counsel Expenses                   31,056.19
                         Receiver's Counsel Fees
                           Allen Matkins                             654,246.72
                           Squire Patton Boggs, LLP                  123,477.26
                         Total Receiver's Counsel Fees                      777,723.98




                                                                                                    Exhibit A, Page 12
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                                            #:9048
1:35 PM                           USFIA, Inc in Receivership
08/16/18                             Inception-to-Date Profit & Loss
Accrual Basis                                       As of June 30, 2018

                                                                            Jun 30, 18
                             Receiver's Fees                                   1,292,783.40
                             Receiver's IT Expenses                               27,776.21
                             Receiver IT Fees                                    260,940.40
                             Tax Accounting Fees                                     575.00
                             Transalation Services                                 5,005.62
                       Total Professional Fees                                            2,448,999.22
                       Real Property Expenses
                         Alhambra Gardens Apartments
                            Insurance Expense                              14,845.00
                            Landscape & Maintenance                        12,186.00
                            Mortgage Interest Expense                     171,510.68
                            Property Taxes                                154,343.20
                            Real Estate Sales Expenses                        796.68
                            Repairs and Maintenance                       124,558.16
                            Security Deposit Return                        32,640.00
                            Taxes & Licenses                                  571.00
                            Tenant Credit Checks                              359.25
                            Utilities                                      71,662.78
                             Total Alhambra Gardens Apartments                   583,472.75
                             All Other Real Estate
                                General Liability Insurance               106,910.01
                                HOA Dues                                   10,942.55
                                Landscape & Maintenance                    75,643.65
                                Locksmith                                   4,612.59
                                Property Tax                              849,497.61
                                Real Estate Sales Expenses                 56,743.82
                                Repairs & Maintenance                     114,587.84
                                Security                                  387,812.67
                                Tenant Refunds                              6,110.00
                                Utilities                                 132,683.32
                             Total All Other Real Estate                       1,745,544.06

                       Total Real Property Expenses                                       2,329,016.81
                       Rent & Storage Expenses                                             183,703.58
                       Travel Expense                                                        1,186.85
                     Total Expense                                                        6,903,324.15

                  Net Ordinary Income                                                    48,625,789.12
                  Other Income/Expense
                    Other Income
                       Interest Income                                                     325,870.75
                     Total Other Income                                                    325,870.75

                  Net Other Income                                                         325,870.75

                Net Income                                                               48,951,659.87




                                                                                                         Exhibit A, Page 13
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                                                                            #:9049
1:33 PM                                                                                   USFIA, Inc in Receivership
08/16/18                                                                                          General Ledger
Accrual Basis                                                                                April 1 through June 30, 2018

           Type            Date          Num                       Name                                 Memo                                Split           Debit            Credit            Balance

   Hills Garden Hotel - WF 0032                                                                                                                                                                          0.00
   Total Hills Garden Hotel - WF 0032                                                                                                                                                                    0.00
   Hills Garden Petty Cash Fund                                                                                                                                                                          0.00
   Total Hills Garden Petty Cash Fund                                                                                                                                                                    0.00
   USFIA Operating Acct - WF 0008                                                                                                                                                                 146,544.23
     Deposit        4/3/2018                                                       Deposit                                   Turnover/ Seizure              1,253,944.98                        1,400,489.21
     Check          4/10/2018           2152   Los Angeles County Tax Collector    Assessor ID 8571 013 025                  Property Tax                                       3,312.84        1,397,176.37
     Check          4/10/2018           2153   Los Angeles County Tax Collector    2017 2nd Installment (see stub)           -SPLIT-                                           25,095.51        1,372,080.86
     Check          4/10/2018           2154   Los Angeles County Tax Collector    Assessor ID 8527 004 009                  Property Tax                                      34,811.54        1,337,269.32
     Check          4/10/2018           2155   The Hartford                        Bill Account 10857037                     General Liability Insurance                          542.28        1,336,727.04
     Check          4/10/2018           2156   Southern California Edison          2-31-868-1665                             -SPLIT-                                               15.20        1,336,711.84
     Check          4/10/2018           2157   Stelor Enterprises, Inc.            Invoice 1744                              Repairs & Maintenance                                150.00        1,336,561.84
     Check          4/10/2018           2158   Edge Water Pool and Spa             Acct 630000                               Landscape & Maintenance                              250.00        1,336,311.84
     Check          4/10/2018           2159   Burrtec Waste Services LLC          Customer 01347710                         Utilities                                            211.97        1,336,099.87
     Check          4/10/2018           2160   LR Locksmithing                     Inv 015485                                Locksmith                                             89.50        1,336,010.37
     Check          4/10/2018           2161   The Gas Company                     063 318 5620 0                            Utilities                                             22.04        1,335,988.33
     Check          4/10/2018           2162   Thomas Seaman                       Reimbursement                             Postage and Delivery                                 205.00        1,335,783.33
     Check          4/10/2018           2163   Republic Services #902              3-0902-0106900                            Utilities                                            215.19        1,335,568.14
     Check          4/10/2018           2164   Orange County Networking            Invoive 8860                              Computer & Internet Expenses                         522.50        1,335,045.64
     Check          4/10/2018           2165   Western Exterminator Co             Invoice 5979395                           Landscape & Maintenance                              120.00        1,334,925.64
     Check          4/10/2018           2166   Rodent Guys                         Invoice 87196                             Landscape & Maintenance                              105.00        1,334,820.64
     Check          4/10/2018           2167   Unishippers                         Customer UL1023992                        Postage and Delivery                                  53.70        1,334,766.94
     Check          4/11/2018           2168   Thomas York                         Items to Live Oak for Auction             -SPLIT-                                              328.35        1,334,438.59
     Check          4/11/2018           2169   Miguel Percastegui                  Items to Live Oak for Auction             Rent & Storage Expenses                              300.00        1,334,138.59
     Deposit        4/11/2018                                                      Deposit                                   Turnover/ Seizure                43,084.99                         1,377,223.58
     Check          4/11/2018           Wire   The Financil Times Ltd              Publication of Claims Bar Date            Misc Costs & Services                               2,325.67       1,374,897.91
     Transfer       4/11/2018                                                      Wire Transfer to Union Bank               USFIA Union Bank Acct 1036                      1,164,597.00         210,300.91
     Check          4/12/2018           2170   Morningside Translations, Inc.      Invoice MI24386                           Transalation Services                                 413.78         209,887.13
     Check          4/12/2018           2171   Darren Clevenger                    Reimbursement                             Computer & Internet Expenses                          114.55         209,772.58
     Transfer       4/12/2018                                                      Funds Transfer                            WF Treasury Acct                       505.98                        210,278.56
     Check          4/18/2018           2172   J. Warlin Insurance Services        409 Deodor Ln                             -SPLIT-                                             8,501.16         201,777.40
     Check          5/4/2018            2173   Southern California Edison          2-32-970-4803                             Rent & Storage Expenses                                38.77         201,738.63
     Check          5/4/2018            2174   AIC Owner, LLC                      t0002258                                  Rent & Storage Expenses                             1,487.22         200,251.41
     Check          5/4/2018            2175   HelmCo Electric                     Invoice 5112                              Rent & Storage Expenses                               540.00         199,711.41
     Deposit        5/4/2018                                                       Deposit                                   Sale of Personal Property       250,000.00                           449,711.41
     Check          5/4/2018            2176   Private Security                    Account TS-135                            -SPLIT-                                             7,190.00         442,521.41
     Check          5/4/2018            2177   California American Water           Acct 1015-220018741205                    Utilities                                             459.94         442,061.47
     Check          5/4/2018            2178   Thomas Seaman Company               Postage Reimbursement                     Postage and Delivery                                   72.38         441,989.09
     Check          5/4/2018            2179   Alison Juroe                        Reimbursement                             Mileage Reimbursement                                 223.21         441,765.88
     Check          5/4/2018            2180   Pasadena Gardening & Tree Service   Invoice 4443                              Landscape & Maintenance                               600.00         441,165.88
     Check          5/4/2018            2181   Southern California Edison          2-39-640-4949                             Utilities                                             173.55         440,992.33
     Check          5/4/2018            2182   Unishippers                         Customer UL1023992                        Postage and Delivery                                   23.91         440,968.42
     Check          5/4/2018            EFT    Travelers Insurance                 Acct 2070A6164                            General Liability Insurance                         4,970.40         435,998.02
     Check          5/4/2018            2183   Tim McDonnell                       Mail Forwarding Renewal                   Postage and Delivery                                    5.00         435,993.02
     Check          5/4/2018            2184   Southern California Edison          Cust 2-38-147-5607                        Utilities                                           1,672.10         434,320.92
     Check          5/4/2018            2185   Tennis Executive Ctr c/o CMS        Account 1180958                           HOA Dues                                              190.00         434,130.92
     Check          5/4/2018            2186   Orange County Networking            Invoive 8879                              Computer & Internet Expenses                          522.50         433,608.42
     Check          5/4/2018            2187   Edge Water Pool and Spa             Acct 630000                               Landscape & Maintenance                               175.00         433,433.42
     Check          5/7/2018            2188   Cox Business                        001 7601 060187501                        Rent & Storage Expenses                                63.83         433,369.59
     Check          5/13/2018                                                      Service Charge                            Bank Service Charges                                   68.29         433,301.30
     Check          5/18/2018           2190   Pacific Horizon LLC                 May 2018 - Amkey Inc Warehouse lease      Rent & Storage Expenses                             2,805.00         430,496.30
     Check          5/21/2018           2191   Sierra Glass & Mirrors, Inc.        Quote 8645                                Repairs & Maintenance                                 509.50         429,986.80
     Check          5/31/2018           2192   AIC Owner, LLC                      t0002258                                  Rent & Storage Expenses                             1,397.22         428,589.58
     Check          5/31/2018           2193   Southern California Edison          2-32-970-4803                             Rent & Storage Expenses                               108.17         428,481.41
     Check          5/31/2018           2194   Cox Business                        001 7601 060187501                        Rent & Storage Expenses                                63.83         428,417.58
     Check          5/31/2018           2195   Burrtec Waste Services LLC          Customer 01347710                         Utilities                                             211.97         428,205.61
     Check          5/31/2018           2196   City of Arcadia                     Acct 0051-092500.15                       Utilities                                             386.01         427,819.60
     Check          5/31/2018           2197   Jose Luis Bimbela                   2 Invoices                                -SPLIT-                                               760.00         427,059.60
     Check          5/31/2018           2198   Republic Services #902              3-0902-0106900                            Utilities                                             693.00         426,366.60
     Check          5/31/2018           2199   The Gas Company                     063 318 5620 0                            Utilities                                              21.70         426,344.90
     Check          5/31/2018           2200   Western Exterminator Co             Invoice 6063739                           Landscape & Maintenance                               120.00         426,224.90
     Check          5/31/2018           2201   Unishippers                         Customer UL1023992                        -SPLIT-                                                62.80         426,162.10
     Check          5/31/2018           2202   Rodent Guys                         Invoice 88651                             Landscape & Maintenance                               105.00         426,057.10
     Check          5/31/2018           2203   Chicago Title Company               Invoice 00059449                          -SPLIT-                                               470.00         425,587.10
     Check          5/31/2018           2204   Pasadena Gardening & Tree Service   Invoice 4631                              Landscape & Maintenance                               600.00         424,987.10


                                                                                                                                                                                      Exhibit A, Page 14
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1:33 PM                                                                                          USFIA, Inc in Receivership
08/16/18                                                                                                  General Ledger
Accrual Basis                                                                                      April 1 through June 30, 2018

           Type              Date          Num                      Name                                       Memo                                 Split           Debit          Credit            Balance

      Check            5/31/2018          2205   LR Locksmithing                         Inv 015485                                Locksmith                                             69.00         424,918.10
      Check            5/31/2018          2206   California American Water               Acct 1015-220018741205                    Utilities                                            590.16         424,327.94
      Check            5/31/2018          2207   Southern California Edison              2-39-640-4949                             Utilities                                            243.30         424,084.64
      Check            5/31/2018          2208   Bank of America                         Case #D051718000317                       Printing & Reproduction                               29.74         424,054.90
      Check            5/31/2018          2209   Private Security                        Account TS-135                            -SPLIT-                                           10,330.00         413,724.90
      Check            5/31/2018          2210   Tennis Executive Ctr c/o CMS            Account 1180958                           HOA Dues                                             190.00         413,534.90
      Check            5/31/2018          2211   Sierra Glass & Mirrors, Inc.            Invoice 25583                             Repairs & Maintenance                                509.50         413,025.40
      Check            5/31/2018          2212   Tim McDonnell                           Mileage                                   Mileage Reimbursement                                107.37         412,918.03
      Check            5/31/2018          2213   Mercado Landscaping                     Invoice 1586                              Landscape & Maintenance                              750.00         412,168.03
      Check            5/31/2018          2214   Southern California Edison              Cust 2-38-147-5607                        Utilities                                          1,833.84         410,334.19
      Check            6/6/2018           2215   Thomas Seaman Company                   1-800 Got Junk Reimbursement              -SPLIT-                                           19,366.00         390,968.19
      Check            6/6/2018           2216   Jan-Serve Commercial Cleaning           135 E Live Oak                            Repairs & Maintenance                              2,955.00         388,013.19
      Check            6/7/2018           2217   Roof Repair Specialists                 Estimate 94                               -SPLIT-                                              215.00         387,798.19
      Check            6/13/2018                                                         Service Charge                            Bank Service Charges                                  25.67         387,772.52
      Deposit          6/14/2018                                                         Deposit                                   Sale of Personal Property          37,828.25                        425,600.77
      Check            6/20/2018          2218   Michael Frauenthal & Associates, Inc.   Appraisal Retainer                        Appraiser Fees                                        577.50        425,023.27
      Check            6/20/2018          2219   J. Warlin Insurance Services            Lot 14 Utica Ave                          General Liability Insurance                         1,066.00        423,957.27
      Check            6/21/2018          2220   Merritt Drywall                         135 E Live Oak                            Repairs & Maintenance                                 800.00        423,157.27
      Check            6/28/2018          2221   Roof Repair Specialists                 Invoice 34                                -SPLIT-                                             1,935.00        421,222.27
   Total USFIA Operating Acct - WF 0008                                                                                                                             1,585,364.20   1,310,686.16        421,222.27
   USFIA Union Bank Acct 1036                                                                                                                                                                        48,337,936.00
     Transfer      4/11/2018                                                             Wire Transfer to Union Bank               USFIA Operating Acct - WF 0008   1,164,597.00                     49,502,533.00
   Total USFIA Union Bank Acct 1036                                                                                                                                 1,164,597.00             0.00    49,502,533.00
   WF Treasury Acct                                                                                                                                                                                        505.98
     Transfer       4/12/2018                                                            Funds Transfer                            USFIA Operating Acct - WF 0008                       505.98               0.00
   Total WF Treasury Acct                                                                                                                                                   0.00        505.98                 0.00
   Accounts Receivable                                                                                                                                                                                         0.00
      Alhambra Gardens AR                                                                                                                                                                                      0.00
      Total Alhambra Gardens AR                                                                                                                                                                                0.00
      Hills Garden AR-Advance Deposit                                                                                                                                                                          0.00
      Total Hills Garden AR-Advance Deposit                                                                                                                                                                    0.00
      Hills Hotel AR-City Ledger                                                                                                                                                                               0.00
      Total Hills Hotel AR-City Ledger                                                                                                                                                                         0.00
      Hills Hotel AR-Guest Ledger                                                                                                                                                                              0.00
      Total Hills Hotel AR-Guest Ledger                                                                                                                                                                        0.00
      Accounts Receivable - Other                                                                                                                                                                              0.00
      Total Accounts Receivable - Other                                                                                                                                                                        0.00

   Total Accounts Receivable                                                                                                                                                                                   0.00
   Prepaid Insurance                                                                                                                                                                                           0.00
   Total Prepaid Insurance                                                                                                                                                                                     0.00
   Receivable from Hills Garden                                                                                                                                                                                0.00
   Total Receivable from Hills Garden                                                                                                                                                                          0.00
   Undeposited Funds                                                                                                                                                                                           0.00
   Total Undeposited Funds                                                                                                                                                                                     0.00
   Accumulated Depreciation                                                                                                                                                                                    0.00
   Total Accumulated Depreciation                                                                                                                                                                              0.00
   Alhambra Gardens Apt Complex                                                                                                                                                                                0.00
   Total Alhambra Gardens Apt Complex                                                                                                                                                                          0.00
   Furniture and Equipment                                                                                                                                                                                     0.00
   Total Furniture and Equipment                                                                                                                                                                               0.00




                                                                                                                                                                                            Exhibit A, Page 15
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1:33 PM                                                                    USFIA, Inc in Receivership
08/16/18                                                                           General Ledger
Accrual Basis                                                                 April 1 through June 30, 2018

           Type                Date        Num               Name                      Memo                                  Split             Debit          Credit            Balance

   Security Deposits                                                                                                                                                                 1,310.00
   Total Security Deposits                                                                                                                                                           1,310.00
   Utility Deposits                                                                                                                                                                  1,105.00
   Total Utility Deposits                                                                                                                                                            1,105.00
   Accounts Payable                                                                                                                                                                       0.00
   Total Accounts Payable                                                                                                                                                                 0.00
   Funds Turnover to be Returned                                                                                                                                                          0.00
   Total Funds Turnover to be Returned                                                                                                                                                    0.00
   Payable to USFIA                                                                                                                                                                       0.00
   Total Payable to USFIA                                                                                                                                                                 0.00
   Payroll Liabilities                                                                                                                                                                    0.00
   Total Payroll Liabilities                                                                                                                                                              0.00
   Potential 11th Hour Investor                                                                                                                                                   -974,510.40
   Total Potential 11th Hour Investor                                                                                                                                             -974,510.40
   RE Sales Earnest Money Deposits                                                                                                                                                        0.00
   Total RE Sales Earnest Money Deposits                                                                                                                                                  0.00
   Rental Security Deposits                                                                                                                                                               0.00
   Total Rental Security Deposits                                                                                                                                                         0.00
   Mortgage Loan-Alhambra Gardens                                                                                                                                                         0.00
   Total Mortgage Loan-Alhambra Gardens                                                                                                                                                   0.00
   Opening Balance Equity                                                                                                                                                                 0.00
   Total Opening Balance Equity                                                                                                                                                           0.00
   Retained Earnings                                                                                                                                                            -45,509,932.53
   Total Retained Earnings                                                                                                                                                      -45,509,932.53
   Accounting Services Income                                                                                                                                                             0.00
   Total Accounting Services Income                                                                                                                                                       0.00
   Arcadia Office Rental Revenue                                                                                                                                                          0.00
   Total Arcadia Office Rental Revenue                                                                                                                                                    0.00
   Consulting Income                                                                                                                                                                      0.00
   Total Consulting Income                                                                                                                                                                0.00
   Hotel Revenue                                                                                                                                                                          0.00
   Total Hotel Revenue                                                                                                                                                                    0.00
   Rental Income                                                                                                                                                                          0.00
   Total Rental Income                                                                                                                                                                    0.00
   Sale of Assets                                                                                                                                                                         0.00
   Total Sale of Assets                                                                                                                                                                   0.00
   Sale of Personal Property                                                                                                                                                             0.00
      Deposit         5/4/2018                   WFS, Inc.          Auction Proceeds                          USFIA Operating Acct - WF 0008                   250,000.00         -250,000.00
      Deposit         6/14/2018                  WFS, Inc.          Auction Proceeds                          USFIA Operating Acct - WF 0008                    37,828.25         -287,828.25
   Total Sale of Personal Property                                                                                                                     0.00    287,828.25         -287,828.25
   Sale of Real Property                                                                                                                                                         -2,293,045.00
   Total Sale of Real Property                                                                                                                                                   -2,293,045.00
   Tax Preparation Services Income                                                                                                                                                        0.00
   Total Tax Preparation Services Income                                                                                                                                                  0.00




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1:33 PM                                                                           USFIA, Inc in Receivership
08/16/18                                                                                    General Ledger
Accrual Basis                                                                        April 1 through June 30, 2018

           Type              Date          Num                      Name                         Memo                                          Split             Debit           Credit            Balance

   Tax Refunds                                                                                                                                                                                                0.00
   Total Tax Refunds                                                                                                                                                                                          0.00
   Turnover/ Seizure                                                                                                                                                                                        0.00
      Deposit        4/3/2018            13731...   TD Ameritrade          Account ending in 1365                               USFIA Operating Acct - WF 0008                   1,253,944.98      -1,253,944.98
      Deposit        4/11/2018           13791...   TD Ameritrade          Steamfont Account 427-357769 (Formerly Scottrad...   USFIA Operating Acct - WF 0008                      43,084.99      -1,297,029.97
   Total Turnover/ Seizure                                                                                                                                                0.00   1,297,029.97      -1,297,029.97
   Unearned law firm retainers                                                                                                                                                                                0.00
   Total Unearned law firm retainers                                                                                                                                                                          0.00
   Automobile Expense                                                                                                                                                                                         0.00
   Total Automobile Expense                                                                                                                                                                                   0.00
   Automobile Expenses                                                                                                                                                                                        0.00
   Total Automobile Expenses                                                                                                                                                                                  0.00
   Bank Service Charges                                                                                                                                                                                       2.65
     Check          5/13/2018                                              Service Charge                                       USFIA Operating Acct - WF 0008           68.29                               70.94
     Check          6/13/2018                                              Service Charge                                       USFIA Operating Acct - WF 0008           25.67                               96.61
   Total Bank Service Charges                                                                                                                                            93.96             0.00              96.61
   Computer and Internet Expenses                                                                                                                                                                             0.00
   Total Computer and Internet Expenses                                                                                                                                                                       0.00
   Depreciation Expense                                                                                                                                                                                       0.00
   Total Depreciation Expense                                                                                                                                                                                 0.00
   Hotel Operating Expenses                                                                                                                                                                                   0.00
      Advertising and Promotion                                                                                                                                                                               0.00
      Total Advertising and Promotion                                                                                                                                                                         0.00
      Cable                                                                                                                                                                                                   0.00
      Total Cable                                                                                                                                                                                             0.00
      Computer & Internet Expenses                                                                                                                                                                            0.00
      Total Computer & Internet Expenses                                                                                                                                                                      0.00
      Dues and Subscriptions                                                                                                                                                                                  0.00
      Total Dues and Subscriptions                                                                                                                                                                            0.00
      Food & Beverage                                                                                                                                                                                         0.00
      Total Food & Beverage                                                                                                                                                                                   0.00
      Insurance Expense                                                                                                                                                                                       0.00
         Earthquake Insurance                                                                                                                                                                                 0.00
           Total Earthquake Insurance                                                                                                                                                                         0.00
           General Liability Insurance                                                                                                                                                                        0.00
           Total General Liability Insurance                                                                                                                                                                  0.00
           Worker's Compensation                                                                                                                                                                              0.00
           Total Worker's Compensation                                                                                                                                                                        0.00
           Insurance Expense - Other                                                                                                                                                                          0.00
           Total Insurance Expense - Other                                                                                                                                                                    0.00

      Total Insurance Expense                                                                                                                                                                                 0.00
      Landscape & Maintenance                                                                                                                                                                                 0.00
      Total Landscape & Maintenance                                                                                                                                                                           0.00
      Licenses, Permits, & Dues                                                                                                                                                                               0.00
      Total Licenses, Permits, & Dues                                                                                                                                                                         0.00




                                                                                                                                                                                          Exhibit A, Page 17
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1:33 PM                                                                           USFIA, Inc in Receivership
08/16/18                                                                                  General Ledger
Accrual Basis                                                                        April 1 through June 30, 2018

           Type               Date           Num                   Name                          Memo                                   Split             Debit            Credit            Balance

      Lodging Tax-San Bernardino                                                                                                                                                                       0.00
      Total Lodging Tax-San Bernardino                                                                                                                                                                 0.00
      Merchant Account Fees                                                                                                                                                                            0.00
      Total Merchant Account Fees                                                                                                                                                                      0.00
      Misc Hotel Expenses                                                                                                                                                                              0.00
      Total Misc Hotel Expenses                                                                                                                                                                        0.00
      Office Supplies                                                                                                                                                                                  0.00
      Total Office Supplies                                                                                                                                                                            0.00
      Payroll Expenses                                                                                                                                                                                 0.00
      Total Payroll Expenses                                                                                                                                                                           0.00
      Payroll Fees                                                                                                                                                                                     0.00
      Total Payroll Fees                                                                                                                                                                               0.00
      Property Taxes                                                                                                                                                                                   0.00
      Total Property Taxes                                                                                                                                                                             0.00
      Recurring Hotel Fees                                                                                                                                                                             0.00
      Total Recurring Hotel Fees                                                                                                                                                                       0.00
      Repairs & Maintenance                                                                                                                                                                            0.00
      Total Repairs & Maintenance                                                                                                                                                                      0.00
      Reservations                                                                                                                                                                                     0.00
      Total Reservations                                                                                                                                                                               0.00
      Telephone Expense                                                                                                                                                                                0.00
      Total Telephone Expense                                                                                                                                                                          0.00
      Utilities                                                                                                                                                                                        0.00
      Total Utilities                                                                                                                                                                                  0.00
      Hotel Operating Expenses - Other                                                                                                                                                                 0.00
      Total Hotel Operating Expenses - Other                                                                                                                                                           0.00

   Total Hotel Operating Expenses                                                                                                                                                                      0.00
   Insurance Expense                                                                                                                                                                                   0.00
      Life and Disability Insurance                                                                                                                                                                    0.00
      Total Life and Disability Insurance                                                                                                                                                              0.00
      Professional Liability                                                                                                                                                                           0.00
      Total Professional Liability                                                                                                                                                                     0.00
      Insurance Expense - Other                                                                                                                                                                        0.00
      Total Insurance Expense - Other                                                                                                                                                                  0.00

   Total Insurance Expense                                                                                                                                                                             0.00
   Landscape & Maintenance                                                                                                                                                                             0.00
   Total Landscape & Maintenance                                                                                                                                                                       0.00
   Mileage Reimbursement                                                                                                                                                                           201.16
      Check         5/4/2018                2179   Alison Juroe           Mileage to 135 E Live Oak 11/17/17 - 4/18/18   USFIA Operating Acct - WF 0008           223.21                           424.37
      Check         5/31/2018               2212   Tim McDonnell          Mileage to Live Oak & back, 5/22 & 5/30/18     USFIA Operating Acct - WF 0008           107.37                           531.74
   Total Mileage Reimbursement                                                                                                                                    330.58             0.00          531.74




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                                                                              #:9054
1:33 PM                                                                                           USFIA, Inc in Receivership
08/16/18                                                                                                  General Ledger
Accrual Basis                                                                                        April 1 through June 30, 2018

           Type              Date           Num                      Name                                        Memo                                            Split             Debit            Credit            Balance

   Outside Services                                                                                                                                                                                                       3,456.71
      Computer & Internet Expenses                                                                                                                                                                                        2,978.93
     Check          4/10/2018      2164           Orange County Networking                Januaryservices: Verified/modified backups, servers     USFIA Operating Acct - WF 0008           522.50                         3,501.43
     Check          4/12/2018      2171           Darren Clevenger                        Equipment for Server room at Irvine Storage             USFIA Operating Acct - WF 0008           114.55                         3,615.98
     Check          5/4/2018       2186           Orange County Networking                February services: Verified/modified backups, servers   USFIA Operating Acct - WF 0008           522.50                         4,138.48
      Total Computer & Internet Expenses                                                                                                                                              1,159.55                0.00        4,138.48
      Misc Costs & Services                                                                                                                                                                                                  55.50
      Check         4/11/2018          Wire       The Financil Times Ltd                  Publication of Claims Bar Date                          USFIA Operating Acct - WF 0008      2,325.67                            2,381.17
      Total Misc Costs & Services                                                                                                                                                     2,325.67                0.00        2,381.17
      Postage and Delivery                                                                                                                                                                                                   51.13
      Check         4/10/2018          2162       Thomas Seaman                           Chen Claims PO Box                                      USFIA Operating Acct - WF 0008           205.00                           256.13
      Check         4/10/2018          2167       Unishippers                             Invoice 1014464283                                      USFIA Operating Acct - WF 0008            53.70                           309.83
      Check         5/4/2018           2178       Thomas Seaman Company                   Postage for Claims Mailing                              USFIA Operating Acct - WF 0008            72.38                           382.21
      Check         5/4/2018           2182       Unishippers                             Invoice 1014513626                                      USFIA Operating Acct - WF 0008            23.91                           406.12
      Check         5/4/2018           2183       Tim McDonnell                           Mail Forwarding Renewal                                 USFIA Operating Acct - WF 0008             5.00                           411.12
      Check         5/31/2018          2201       Unishippers                             Invoice 1014588109                                      USFIA Operating Acct - WF 0008            51.40                           462.52
      Check         5/31/2018          2201       Unishippers                             Invoice 1014490315                                      USFIA Operating Acct - WF 0008            11.40                           473.92
      Total Postage and Delivery                                                                                                                                                           422.79             0.00          473.92
      Printing & Reproduction                                                                                                                                                                                               371.15
      Check          5/31/2018         2208       Bank of America                         Invoice 548104, USFIA, cv-07425-RGK-GJSX                USFIA Operating Acct - WF 0008            29.74                           400.89
      Total Printing & Reproduction                                                                                                                                                         29.74             0.00          400.89
      Outside Services - Other                                                                                                                                                                                                  0.00
      Total Outside Services - Other                                                                                                                                                                                            0.00

   Total Outside Services                                                                                                                                                             3,937.75                0.00        7,394.46
   Professional Fees                                                                                                                                                                                                    281,104.82
      Appraiser Fees                                                                                                                                                                                                          0.00
      Check          6/20/2018         2218       Michael Frauenthal & Associates, Inc.   Lot 14 Utica Ave, Rancho Cucamonga, CA                  USFIA Operating Acct - WF 0008           577.50                           577.50
      Total Appraiser Fees                                                                                                                                                                 577.50             0.00          577.50
      Legal Fees                                                                                                                                                                                                                0.00
      Total Legal Fees                                                                                                                                                                                                          0.00
      Notary                                                                                                                                                                                                                    0.00
      Total Notary                                                                                                                                                                                                              0.00
      Outside Accounting Fees                                                                                                                                                                                                   0.00
      Total Outside Accounting Fees                                                                                                                                                                                             0.00
      Receiver's Counsel Expenses                                                                                                                                                                                         3,423.99
         Allen Matkins                                                                                                                                                                                                    1,634.75
           Total Allen Matkins                                                                                                                                                                                            1,634.75
           Squire Patton Boggs, LLP                                                                                                                                                                                       1,789.24
           Total Squire Patton Boggs, LLP                                                                                                                                                                                 1,789.24
           Receiver's Counsel Expenses - Other                                                                                                                                                                                  0.00
           Total Receiver's Counsel Expenses - Other                                                                                                                                                                            0.00

      Total Receiver's Counsel Expenses                                                                                                                                                                                   3,423.99
      Receiver's Counsel Fees                                                                                                                                                                                           145,896.08
         Allen Matkins                                                                                                                                                                                                   93,985.92
           Total Allen Matkins                                                                                                                                                                                           93,985.92
           Squire Patton Boggs, LLP                                                                                                                                                                                      51,910.16
           Total Squire Patton Boggs, LLP                                                                                                                                                                                51,910.16




                                                                                                                                                                                                             Exhibit A, Page 19
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                                                                               #:9055
1:33 PM                                                                                    USFIA, Inc in Receivership
08/16/18                                                                                           General Ledger
Accrual Basis                                                                                 April 1 through June 30, 2018

           Type              Date           Num                        Name                               Memo                               Split             Debit            Credit            Balance

           Receiver's Counsel Fees - Other                                                                                                                                                                  0.00
           Total Receiver's Counsel Fees - Other                                                                                                                                                            0.00

      Total Receiver's Counsel Fees                                                                                                                                                                 145,896.08
      Receiver's Fees                                                                                                                                                                               131,784.75
      Total Receiver's Fees                                                                                                                                                                         131,784.75
      Receiver's IT Expenses                                                                                                                                                                                0.00
      Total Receiver's IT Expenses                                                                                                                                                                          0.00
      Receiver IT Fees                                                                                                                                                                                      0.00
      Total Receiver IT Fees                                                                                                                                                                                0.00
      Tax Accounting Fees                                                                                                                                                                                   0.00
      Total Tax Accounting Fees                                                                                                                                                                             0.00
      Transalation Services                                                                                                                                                                               0.00
      Check          4/12/2018             2170    Morningside Translations, Inc.   Project No. O-43336                       USFIA Operating Acct - WF 0008           413.78                           413.78
      Total Transalation Services                                                                                                                                      413.78             0.00          413.78
      Professional Fees - Other                                                                                                                                                                             0.00
      Total Professional Fees - Other                                                                                                                                                                       0.00

   Total Professional Fees                                                                                                                                             991.28             0.00      282,096.10
   Real Property Expenses                                                                                                                                                                            47,629.01
      Alhambra Gardens Apartments                                                                                                                                                                         0.00
          Insurance Expense                                                                                                                                                                               0.00
           Total Insurance Expense                                                                                                                                                                          0.00
           Landscape & Maintenance                                                                                                                                                                          0.00
           Total Landscape & Maintenance                                                                                                                                                                    0.00
           Mortgage Interest Expense                                                                                                                                                                        0.00
           Total Mortgage Interest Expense                                                                                                                                                                  0.00
           Property Taxes                                                                                                                                                                                   0.00
           Total Property Taxes                                                                                                                                                                             0.00
           Real Estate Sales Expenses                                                                                                                                                                       0.00
           Total Real Estate Sales Expenses                                                                                                                                                                 0.00
           Repairs and Maintenance                                                                                                                                                                          0.00
           Total Repairs and Maintenance                                                                                                                                                                    0.00
           Security Deposit Return                                                                                                                                                                          0.00
           Total Security Deposit Return                                                                                                                                                                    0.00
           Taxes & Licenses                                                                                                                                                                                 0.00
           Total Taxes & Licenses                                                                                                                                                                           0.00
           Tenant Credit Checks                                                                                                                                                                             0.00
           Total Tenant Credit Checks                                                                                                                                                                       0.00
           Utilities                                                                                                                                                                                        0.00
           Total Utilities                                                                                                                                                                                  0.00
           Alhambra Gardens Apartments - Other                                                                                                                                                              0.00
           Total Alhambra Gardens Apartments - Other                                                                                                                                                        0.00

      Total Alhambra Gardens Apartments                                                                                                                                                                     0.00




                                                                                                                                                                                         Exhibit A, Page 20
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1:33 PM                                                                                       USFIA, Inc in Receivership
08/16/18                                                                                               General Ledger
Accrual Basis                                                                                    April 1 through June 30, 2018

           Type              Date          Num                       Name                                     Memo                                            Split             Debit            Credit            Balance

      All Other Real Estate                                                                                                                                                                                           47,629.01
          General Liability Insurance                                                                                                                                                                                    998.00
      Check           4/10/2018          2155     The Hartford                        Irvine Storage Property Insurance                        USFIA Operating Acct - WF 0008        542.28                            1,540.28
      Check           4/18/2018          2172     J. Warlin Insurance Services        PLI for 409 Deodor Ln, Bradbury, CA 91008                USFIA Operating Acct - WF 0008      8,501.16                           10,041.44
      Check           5/4/2018           EFT      Travelers Insurance                 Acct 2070A6164 -135 E Live Oak, Arcadia property         USFIA Operating Acct - WF 0008      4,970.40                           15,011.84
      Check           6/20/2018          2219     J. Warlin Insurance Services        Lot 14 Utica Ave, APN 0208-062-10, Rancho Cuca...        USFIA Operating Acct - WF 0008      1,066.00                           16,077.84
           Total General Liability Insurance                                                                                                                                      15,079.84                0.00       16,077.84
         HOA Dues                                                                                                                                                                                                        780.24
      Check       5/4/2018               2185     Tennis Executive Ctr c/o CMS        Account 1180958 for Lot 14 Utica - May 2018              USFIA Operating Acct - WF 0008           190.00                           970.24
      Check       5/31/2018              2210     Tennis Executive Ctr c/o CMS        Account 1180958 for Lot 14 Utica - June 2018             USFIA Operating Acct - WF 0008           190.00                         1,160.24
           Total HOA Dues                                                                                                                                                               380.00             0.00        1,160.24
         Landscape & Maintenance                                                                                                                                                                                       7,260.00
      Check        4/10/2018             2158     Edge Water Pool and Spa             Acct 630000, April Services, 409 Deodar Lane             USFIA Operating Acct - WF 0008           250.00                         7,510.00
      Check        4/10/2018             2165     Western Exterminator Co             Customer 16017112-0, 135 E Live Oak                      USFIA Operating Acct - WF 0008           120.00                         7,630.00
      Check        4/10/2018             2166     Rodent Guys                         409 Deodar Ln - Gopher Control monthly                   USFIA Operating Acct - WF 0008           105.00                         7,735.00
      Check        5/4/2018              2180     Pasadena Gardening & Tree Service   409 Deodar Ln, Bradbury - April Maintenance              USFIA Operating Acct - WF 0008           600.00                         8,335.00
      Check        5/4/2018              2187     Edge Water Pool and Spa             Acct 630000, May Services, 409 Deodar Lane               USFIA Operating Acct - WF 0008           175.00                         8,510.00
      Check        5/31/2018             2197     Jose Luis Bimbela                   Invoice 022272 - Gardening Service March, 135 E L...     USFIA Operating Acct - WF 0008           380.00                         8,890.00
      Check        5/31/2018             2197     Jose Luis Bimbela                   Invoice 022273 - Gardening Service April, 135 E Liv...   USFIA Operating Acct - WF 0008           380.00                         9,270.00
      Check        5/31/2018             2200     Western Exterminator Co             Customer 16017112-0, 135 E Live Oak                      USFIA Operating Acct - WF 0008           120.00                         9,390.00
      Check        5/31/2018             2202     Rodent Guys                         409 Deodar Ln - Gopher Control monthly                   USFIA Operating Acct - WF 0008           105.00                         9,495.00
      Check        5/31/2018             2204     Pasadena Gardening & Tree Service   409 Deodar Ln, Bradbury - May Maintenance                USFIA Operating Acct - WF 0008           600.00                        10,095.00
      Check        5/31/2018             2213     Mercado Landscaping                 Lot 14 Utica Ave, Rancho Cucamonga - Weed Abat...        USFIA Operating Acct - WF 0008           750.00                        10,845.00
           Total Landscape & Maintenance                                                                                                                                           3,585.00                0.00       10,845.00
         Locksmith                                                                                                                                                                                                        89.50
      Check        4/10/2018             2160     LR Locksmithing                     Invoice 015485, Re-Key at 135 E Live Oak                 USFIA Operating Acct - WF 0008            89.50                           179.00
      Check        5/31/2018             2205     LR Locksmithing                     Invoice 015518, Re-Key at 135 E Live Oak                 USFIA Operating Acct - WF 0008            69.00                           248.00
           Total Locksmith                                                                                                                                                              158.50             0.00          248.00
         Property Tax                                                                                                                                                                                                 -6,395.96
      Check         4/10/2018            2152     Los Angeles County Tax Collector    2017 2nd Installment - 4050 Lynd Ave, Arcadia            USFIA Operating Acct - WF 0008      3,312.84                           -3,083.12
      Check         4/10/2018            2153     Los Angeles County Tax Collector    Assessor ID 5789 020 045 -135 E. Live Oak (main p...     USFIA Operating Acct - WF 0008     23,167.81                           20,084.69
      Check         4/10/2018            2153     Los Angeles County Tax Collector    Assessor ID 5789 020 046 -135 E. Live Oak (adjoini...    USFIA Operating Acct - WF 0008      1,927.70                           22,012.39
      Check         4/10/2018            2154     Los Angeles County Tax Collector    2017 2nd Installment - 409 Deodar Ln, Bradbury           USFIA Operating Acct - WF 0008     34,811.54                           56,823.93
           Total Property Tax                                                                                                                                                     63,219.89                0.00       56,823.93
         Real Estate Sales Expenses                                                                                                                                                                                      385.00
      Check          5/31/2018      2203          Chicago Title Company               Release of 4 Lis Pendens                                 USFIA Operating Acct - WF 0008           470.00                           855.00
           Total Real Estate Sales Expenses                                                                                                                                             470.00             0.00          855.00
         Repairs & Maintenance                                                                                                                                                                                         6,445.00
      Check         4/10/2018            2157     Stelor Enterprises, Inc.            Plumbing work at 409 Deodar                              USFIA Operating Acct - WF 0008        150.00                            6,595.00
      Check         5/21/2018            2191     Sierra Glass & Mirrors, Inc.        135 E. Live Oak, Arcadia - 50% to Start                  USFIA Operating Acct - WF 0008        509.50                            7,104.50
      Check         5/31/2018            2211     Sierra Glass & Mirrors, Inc.        135 E. Live Oak, Arcadia - 50% upon Completion           USFIA Operating Acct - WF 0008        509.50                            7,614.00
      Check         6/6/2018             2216     Jan-Serve Commercial Cleaning       50% Starter payment for cleaning services                USFIA Operating Acct - WF 0008      2,955.00                           10,569.00
      Check         6/7/2018             2217     Roof Repair Specialists             Roof Repairs at 135 E. Live Oak, Arcadia                 USFIA Operating Acct - WF 0008        215.00                           10,784.00
      Check         6/21/2018            2220     Merritt Drywall                     Repaired Ceiling at 135 E Live Oak                       USFIA Operating Acct - WF 0008        800.00                           11,584.00
      Check         6/28/2018            2221     Roof Repair Specialists             Roof Repairs at 135 E. Live Oak, Arcadia                 USFIA Operating Acct - WF 0008      1,935.00                           13,519.00
           Total Repairs & Maintenance                                                                                                                                             7,074.00                0.00       13,519.00




                                                                                                                                                                                                          Exhibit A, Page 21
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08/16/18                                                                                         General Ledger
Accrual Basis                                                                               April 1 through June 30, 2018

           Type              Date          Num                         Name                             Memo                                           Split             Debit         Credit            Balance

         Security                                                                                                                                                                                           21,810.00
      Check              5/4/2018        2176       Private Security             Invoice 6709, 3/12-3/18/18, 135 E Live Oak             USFIA Operating Acct - WF 0008      1,400.00                        23,210.00
      Check              5/4/2018        2176       Private Security             Invoice 6710, 3/19-3/25/18, 135 E Live Oak             USFIA Operating Acct - WF 0008      1,400.00                        24,610.00
      Check              5/4/2018        2176       Private Security             Invoice 6711, 3/26-4/1/18, 135 E Live Oak              USFIA Operating Acct - WF 0008      1,400.00                        26,010.00
      Check              5/4/2018        2176       Private Security             Invoice 6712, 4/2-4/8/18, 135 E Live Oak               USFIA Operating Acct - WF 0008      1,400.00                        27,410.00
      Check              5/4/2018        2176       Private Security             Invoice 11586, Feb Responsible Party                   USFIA Operating Acct - WF 0008        530.00                        27,940.00
      Check              5/4/2018        2176       Private Security             Invoice 11689, Mar Responsible Party                   USFIA Operating Acct - WF 0008        530.00                        28,470.00
      Check              5/4/2018        2176       Private Security             Invoice 11728, Apr Responsible Party                   USFIA Operating Acct - WF 0008        530.00                        29,000.00
      Check              5/31/2018       2209       Private Security             Invoice 6713, 4/9-4/15/18, 135 E Live Oak              USFIA Operating Acct - WF 0008      1,400.00                        30,400.00
      Check              5/31/2018       2209       Private Security             Invoice 6714, 4/16-4/22/18, 135 E Live Oak             USFIA Operating Acct - WF 0008      1,400.00                        31,800.00
      Check              5/31/2018       2209       Private Security             Invoice 6715, 4/23-4/29/18, 135 E Live Oak             USFIA Operating Acct - WF 0008      1,400.00                        33,200.00
      Check              5/31/2018       2209       Private Security             Invoice 6746, 4/30-5/6/18, 135 E Live Oak              USFIA Operating Acct - WF 0008      1,400.00                        34,600.00
      Check              5/31/2018       2209       Private Security             Invoice 6747, 5/7-5/13/18, 135 E Live Oak              USFIA Operating Acct - WF 0008      1,400.00                        36,000.00
      Check              5/31/2018       2209       Private Security             Invoice 6748, 5/14-5/20/18, 135 E Live Oak             USFIA Operating Acct - WF 0008      1,400.00                        37,400.00
      Check              5/31/2018       2209       Private Security             Invoice 6749, 5/21-5/27/18, 135 E Live Oak             USFIA Operating Acct - WF 0008      1,400.00                        38,800.00
      Check              5/31/2018       2209       Private Security             Invoice 11880, May Responsible Party                   USFIA Operating Acct - WF 0008        530.00                        39,330.00
           Total Security                                                                                                                                                  17,520.00             0.00       39,330.00
           Tenant Refunds                                                                                                                                                                                          0.00
           Total Tenant Refunds                                                                                                                                                                                    0.00
         Utilities                                                                                                                                                                                          16,257.23
      Check              4/10/2018       2159       Burrtec Waste Services LLC   Invoice 1065143, 409 Deodar Ln, April Service          USFIA Operating Acct - WF 0008        211.97                        16,469.20
      Check              4/10/2018       2161       The Gas Company              Account 063 318 5620 0, 135 E Live Oak, Ste 200, ...   USFIA Operating Acct - WF 0008         22.04                        16,491.24
      Check              4/10/2018       2163       Republic Services #902       Invoice 0902-007842282 - 135 E Live Oak, Arcadia       USFIA Operating Acct - WF 0008        215.19                        16,706.43
      Check              5/4/2018        2177       California American Water    Acct 1015-220018741205 - 409 Deodar Ln, 3/14 - 4...    USFIA Operating Acct - WF 0008        459.94                        17,166.37
      Check              5/4/2018        2181       Southern California Edison   Customer 2-39-640-4949, 409 Deodar Ln, Bradbury        USFIA Operating Acct - WF 0008        173.55                        17,339.92
      Check              5/4/2018        2184       Southern California Edison   Cust 2-38-147-5607, 135 E Live Oak, Arcadia            USFIA Operating Acct - WF 0008      1,672.10                        19,012.02
      Check              5/31/2018       2195       Burrtec Waste Services LLC   Invoice 1084621, 409 Deodar Ln, May Service            USFIA Operating Acct - WF 0008        211.97                        19,223.99
      Check              5/31/2018       2196       City of Arcadia              Acct 0051-092500.15, 135 E Live Oak, Service date...   USFIA Operating Acct - WF 0008        386.01                        19,610.00
      Check              5/31/2018       2198       Republic Services #902       Invoice 0902-007910292 - 135 E Live Oak, Arcadia       USFIA Operating Acct - WF 0008        693.00                        20,303.00
      Check              5/31/2018       2199       The Gas Company              Account 063 318 5620 0, 135 E Live Oak, Ste 200, ...   USFIA Operating Acct - WF 0008         21.70                        20,324.70
      Check              5/31/2018       2206       California American Water    Acct 1015-220018741205 - 409 Deodar Ln, 4/12 - 5...    USFIA Operating Acct - WF 0008        590.16                        20,914.86
      Check              5/31/2018       2207       Southern California Edison   Customer 2-39-640-4949, 409 Deodar Ln, Bradbury        USFIA Operating Acct - WF 0008        243.30                        21,158.16
      Check              5/31/2018       2214       Southern California Edison   Cust 2-38-147-5607, 135 E Live Oak, Arcadia            USFIA Operating Acct - WF 0008      1,833.84                        22,992.00
           Total Utilities                                                                                                                                                  6,734.77             0.00       22,992.00
           All Other Real Estate - Other                                                                                                                                                                           0.00
           Total All Other Real Estate - Other                                                                                                                                                                     0.00

      Total All Other Real Estate                                                                                                                                         114,222.00             0.00      161,851.01
      Real Property Expenses - Other                                                                                                                                                                               0.00
      Total Real Property Expenses - Other                                                                                                                                                                         0.00

   Total Real Property Expenses                                                                                                                                           114,222.00             0.00      161,851.01
   Rent & Storage Expenses                                                                                                                                                                                  21,270.31
     Check          4/10/2018            2156       Southern California Edison   Customer 2-31-868-1665, 1502 S. Grand Ave              USFIA Operating Acct - WF 0008         15.20                        21,285.51
     Check          4/11/2018            2168       Thomas York                  Moved Items to Live Oak for Auction                    USFIA Operating Acct - WF 0008        300.00                        21,585.51
     Check          4/11/2018            2168       Thomas York                  Pacific Mail Reimbursement - Moving Supplies           USFIA Operating Acct - WF 0008         28.35                        21,613.86
     Check          4/11/2018            2169       Miguel Percastegui           Moved Items to Live Oak for Auction                    USFIA Operating Acct - WF 0008        300.00                        21,913.86
     Check          5/4/2018             2173       Southern California Edison   2-32-970-4803 - Irvine Storage                         USFIA Operating Acct - WF 0008         38.77                        21,952.63
     Check          5/4/2018             2174       AIC Owner, LLC               Irvine Storage Rent                                    USFIA Operating Acct - WF 0008      1,487.22                        23,439.85
     Check          5/4/2018             2175       HelmCo Electric              17779 Main Street, Ste D                               USFIA Operating Acct - WF 0008        540.00                        23,979.85
     Check          5/7/2018             2188       Cox Business                 Account 001 7601 060187501                             USFIA Operating Acct - WF 0008         63.83                        24,043.68
     Check          5/18/2018            2190       Pacific Horizon LLC          May 2018 - Amkey Inc Warehouse lease                   USFIA Operating Acct - WF 0008      2,805.00                        26,848.68
     Check          5/31/2018            2192       AIC Owner, LLC               Irvine Storage Rent                                    USFIA Operating Acct - WF 0008      1,397.22                        28,245.90
     Check          5/31/2018            2193       Southern California Edison   2-32-970-4803 - Irvine Storage                         USFIA Operating Acct - WF 0008        108.17                        28,354.07
     Check          5/31/2018            2194       Cox Business                 Account 001 7601 060187501                             USFIA Operating Acct - WF 0008         63.83                        28,417.90
     Check          6/6/2018             2215       Thomas Seaman Company        Cloverly Warehouse cleanout                            USFIA Operating Acct - WF 0008     15,376.00                        43,793.90
     Check          6/6/2018             2215       Thomas Seaman Company        Carson Warehouse cleanout                              USFIA Operating Acct - WF 0008      3,990.00                        47,783.90
   Total Rent & Storage Expenses                                                                                                                                           26,513.59             0.00       47,783.90
   Taxes                                                                                                                                                                                                           0.00
   Total Taxes                                                                                                                                                                                                     0.00



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08/16/18                                                           General Ledger
Accrual Basis                                                   April 1 through June 30, 2018

           Type            Date   Num         Name                      Memo                    Split   Debit          Credit            Balance

   Travel Expense                                                                                                                                  0.00
   Total Travel Expense                                                                                                                            0.00
   Finance Charge Income                                                                                                                           0.00
   Total Finance Charge Income                                                                                                                     0.00
   Interest Income                                                                                                                          -63,577.94
   Total Interest Income                                                                                                                    -63,577.94
   No accnt                                                                                                                                        0.00
   Total no accnt                                                                                                                                  0.00

TOTAL                                                                                                   2,896,050.36   2,896,050.36                0.00




                                                                                                                                Exhibit A, Page 23
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                        STANDARDIZED FUND ACCOUNTING REPORT for Steve Chen, USFIA ‐ Cash Basis
          Receivership; Case No. 15‐07425‐RGK‐GKSX
          Reporting Period 04/01/2018 to 06/30/2018

          FUND ACCOUNTING (See instructions):
                                                                                          Detail             Subtotal        Grand Total
          Line 1          Beginning Balance (03/31/2018):                                  48,484,986                              48,484,986

                          Increases in Fund Balance:

          Line 2          Business Income                                                                                                        ‐
          Line 3          Cash and Securities                                                1,297,030                                1,297,030
          Line 4          Interest/Dividend Income                                                                                               ‐
          Line 5          Business Asset Liquidation                                                                                             ‐
          Line 6          Personal Asset Liquidation                                             287,828                                 287,828
          Line 7          Third‐Party Litigation Income                                                                                          ‐
          Line 8          Miscellaneous ‐ Other                                                                                                  ‐
                          Total Funds Available (Lines 1 ‐ 8):                             50,069,844                              50,069,844

                          Decreases in Fund Balance:

          Line 9          Disbursements to Investors                                                     ‐                                       ‐

          Line 10         Disbursements to Receivership Operations
              Line 10a    Disbursement to Receiver or Other Professionals                                                                        ‐
              Line 10b    Business Asset Expenses                                              (146,089)                               (146,089)
               Line 10c   Personal Asset Expenses                                                                                                ‐
              Line 10d    Investment Expenses                                                            ‐                                       ‐
              Line 10e    Third‐Party Litigation Expenses                                                                                        ‐
                             1. Attorney Fees                                                                                                    ‐
                             2. Litigation Expenses                                                      ‐                                       ‐
                             Total Third‐Party Litigation Expenses                                       ‐                                       ‐

              Line 10f Tax Administrator Fees and Bonds                                        ‐                                                 ‐
              Line 10g Federal and State Tax Payments                                                                    
                       Total Disbursements for Receivership Operations                                                                 (146,089)

          Line 11      Disbursements for Distribution Expenses Paid by the Fund:
              Line 11a Distribution Plan Development Expenses:
                       1. Fees:
                          Fund Administrator…………………………………….                                     ‐                                                ‐
                          Independent Distribution Consultant (IDC)..                           ‐                                                ‐
                          Distribution Agent………………………………………                                     ‐                                                ‐
                          Consultants………………………………………………..                                       ‐                                                ‐
                          Legal Advisors…………………………………………….                                      ‐                                                ‐
                          Tax Advisors……………………………………………….                                       ‐                                                ‐
                       2. Administrative Expenses                                               ‐                                                ‐
                       3. Miscellaneous                                                         ‐                                                ‐
                       Total Plan Developmental Expenses                                                                                         ‐

              Line 11b Distribution Plan Implementation Expenses:
                       1. Fees:
                          Fund Administrator…………………………………….                                     ‐                                                ‐
                          IDC………………………………………………………………                                           ‐                                                ‐
                          Distribution Agent………………………………………                                     ‐                                                ‐
                          Consultants………………………………………………..                                       ‐                                                ‐
                          Legal Advisors…………………………………………….                                      ‐                                                ‐
                          Tax Advisors……………………………………………….                                       ‐                                                ‐
                       2. Administrative Expenses                                               ‐                                                ‐
                       3. Investor Identification:
                          Notice/Publishing Approved Plan……………                                                                                   ‐
                          Claimant Identification…………………………..                                   ‐                                                ‐
                          Claims Processing……………………………………                                       ‐                                                ‐
                          Web Site Maintenance/Call Center………….                                 ‐                                                ‐
                       4. Fund Administrator Bond                                               ‐                                                ‐
                       5. Miscellaneous                                                         ‐                                                ‐
                       6. Federal Account for Investor Restitution
                       (FAIR) Reports Expenses                                                  ‐                                                ‐
                       Total Plan Implementation Expenses                                       ‐                                                ‐
                       Total Disbursements for Distribution Expenses Paid by the Fund                                                            ‐

          Line 12      Disbursements to Court/Other:
              Line 12a Investment Expenses/Court Registry Investment
                       System (CRIS) Fees                                                                ‐                                       ‐
              Line 12b Federal Tax Payments                                                              ‐                                       ‐
                       Total Disbursement to Court/Other:                                                                                        ‐
                       Total Funds Disbursed (Lines 9 ‐ 11):                                                                           (146,089)

          Line 13         Ending Balance (As of 06/30/2018):                                                                       49,923,755

                                                                                                                                                     Exhibit A, Page 24
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                                                                   Exhibit A, Page 25
